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              In The Circuit/County Court Of The Thirteenth
                  Judicial Circuit Of The State Of Florida,
                      In And For Hillsborough County
                                                    Civil Division


                Boutique Apartments LLC
                               Plaintiff,

                                     v.

                Blake Warner
                                                                  Case No       2018-CC-22377
                               Defendant,


                                                                  Division M


                Blake Warner                                      Jury Trial Demanded
                               Third Party Plaintiff,

                                     v.

                Jessie Darkes
                               Third Party Defendant,




                                       Notice of Address Change

                Defendant, Blake Warner, is hereby giving notice that his address has changed to:



             Blake Warner
             502 S. Fremont Ave. #1322
             Tampa, FL 33606




                                                            1       EXHIBIT E

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                                   Certiﬁcate of Service

 I certify that a copy hereof has been furnished to Plaintiff’s Attorney Charles Barrett by email to
 e-ﬁlings@barrettpa.com on 05-19-2018, and to Third Party Defendant Jessie Darkes by email to
 jessie.darkes@mckinley.com on 05-19-2018.




  6-22-2018

 Date                                                  Signature

                                                       Blake Warner, Pro Se
                                                       502 S. Fremont Ave. #1322
                                                       Tampa, FL 33606
                                                       E-Service: blake@null3d.com



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